                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                            Case No. 1:22-mj-256
              Plaintiff,
                                                            Hon. Jane M. Beckering
v.                                                          United States District Judge

GERALD BENNETT,                                             Hon. Ray Kent
                                                            United States Magistrate Judge
            Defendant.
________________________________/


     SECOND SUPPLEMENT TO EXPEDITED MOTION FOR DISTRICT COURT
       TO RECONSIDER MAGISTRATE JUDGE’S DECISION DECLINING TO
          ADDRESS DEFENDANT’S REQUEST FOR RELEASE ON BOND

       Gerald Bennett, by and through his counsel, Assistant Federal Public Defender Joanna

C. Kloet, hereby files this Second Supplement in support of his Expedited Motion to

Reconsider the Magistrate Judge’s decision to decline to address Mr. Bennett’s request for

release on bond.

       1. In the continuation filed in support of the Complaint, the Affiant, FBI Special Agent

          (SA) Aaron Bartholomew, sets forth factual allegations “unbeknownst to the trial

          court” on the day the state case was dismissed.

       2. Specifically, in paragraphs 75 to 79, SA Bartholomew sets forth sworn allegations

          that Mr. Bennett “appears to demonstrate competency” in recorded jail phone calls.
      3. On July 27, 2022, government counsel and law enforcement admitted to defense

          counsel that Mr. Bennett was not the individual on the calls, as alleged in the

          Complaint.

                                               Respectfully submitted,

                                               SHARON A. TUREK
                                               Federal Public Defender

Dated: July 28, 2022                           /s/ Joanna C. Kloet
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